
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                                     
                                 ____________________

        No. 95-1841

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                   FREDERICK HARDY,

                                Defendant, Appellant.

                                                     
                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Reginald C. Lindsay, U.S. District Judge]
                                              ___________________

                                                     
                                 ____________________

                                        Before

                                Cyr, Boudin and Lynch,

                                   Circuit Judges.
                                   ______________

                                                     
                                 ____________________



             Owen S. Walker for appellant.
             ______________
             Ralph F. Boyd,  Jr., Assistant United States Attorney,  with whom
             ___________________
        Donald K.  Stern,  United  States Attorney,  and  Michael  J.  Pelgro,
        ________________                                  ___________________
        Assistant United States Attorney, were on brief for appellee.


                                                     
                                 ____________________

                                   November 8, 1996
                                                     
                                 ____________________





















                    CYR, Circuit  Judge.    Frederick Hardy  challenges two
                    CYR, Circuit  Judge.
                         ______________

          sentencing  rulings  by  the district  court  which  successively

          denied him a downward adjustment for acceptance of responsibility

          and  imposed an upward departure  following his trial and convic-

          tion  on  three felony  charges.   We  affirm the  district court

          judgment.

                                          I
                                          I

                                      BACKGROUND
                                      BACKGROUND
                                      __________

          A.   The Offense of Conviction
          A.   The Offense of Conviction
               _________________________

                    On  the evening  of April  18, 1991,  multiple gunshots

          rang out on the  grounds of the Lenox Street  Housing Development

          in Boston.  Five Boston police officers in plain clothes, members

          of the Anti-gang  Violence Unit,  were on routine  patrol at  the

          time, and  saw Raymond  Moreno, Stephen Fernandes,  and appellant

          Hardy run  from the  area where  the shots had  been fired.   The

          officers gave chase on  foot.  Just before submitting  to arrest,

          Moreno handed a long, dark, cylindrical object to Hardy, who kept

          on running  through the residential neighborhood  adjacent to the

          housing development.  Shortly  after the officers overtook Hardy,

          but before he  could be subjected  to arrest, he tossed  a loaded

          Browning .32 caliber semi-automatic pistol onto the ground.  

                    Following  Hardy's  arrest, the  officers  retraced his

          likely  route from  the shooting  scene to  the arrest  scene and

          found  a  fully-loaded,  sawed-off,  twelve-gauge,  double-barrel

          shotgun planted barrel-up in  the backyard garden of  a residence

          occupied  by  a  family  with  three  young  children.    Nearby,


                                          2














          Fernandes was arrested while in possession of an unloaded  Helwan

          9  millimeter semi-automatic  pistol, later  confirmed to  be the

          firearm discharged  at the Lenox Street  Housing Development site

          where the police first observed Hardy and two associates.  Later,

          Hardy falsely denied knowing  either Moreno or Fernandes, claimed

          to be living with his mother, and gave a false home address.

          B.   The Trial and First Appeal
          B.   The Trial and First Appeal
               __________________________

                    Hardy  was  charged  with  being a  felon  in  unlawful

          possession  of a  firearm,  18 U.S.C.     922(g)(1), as  well  as

          unlawful possession of ammunition, id., and with possession of an
                                             ___

          unregistered firearm, 26 U.S.C.    5861(d).  As Hardy's extensive

          criminal record  included three violent felonies  and one serious

          drug  offense  since 1985,  the  government gave  notice  that it

          intended  to  seek  the  mandatory  minimum  fifteen-year  prison

          sentence authorized  under the Armed Career  Criminal Act (ACCA),

          18 U.S.C.   924(e); see also  U.S.S.G.   4B1.4.  Following trial,
                              ___ ____

          Hardy was convicted and sentenced to 262 months in prison. 

                    While Hardy's first appeal was pending, this court held

          that a criminal defendant exposed to an ACCA sentencing  enhance-

          ment may  challenge any  predicate state court  conviction during

          his  federal sentencing  proceeding even  though his  state court

          remedies  have never been exhausted.  United States v. Paleo, 967
                                                _____________    _____

          F.2d 7, 11-12 (1st  Cir. 1992).  We accordingly  remanded Hardy's

          case to the district court for reconsideration in light of Paleo.
                                                                     _____



          C.   The First Remand and Second Appeal
          C.   The First Remand and Second Appeal
               __________________________________


                                          3














                    On remand, the district court again imposed a 262-month

          prison  term, after  rejecting Hardy's  claim that  his predicate

          state court  convictions were invalid.   United States  v. Hardy,
                                                   _____________     _____

          829 F. Supp. 478 (D. Mass. 1993).  Hardy again appealed.  Without

          reaching  the  sentencing  claims,  this  court  vacated  Hardy's

          federal convictions on the  ground that the prosecution had  made

          improper  comments  during closing  argument  at  trial.   United
                                                                     ______

          States v. Hardy, 37 F.3d 753 (1st Cir. 1994).
          ______    _____

          D.   The Second Remand and Sentencing 
          D.   The Second Remand and Sentencing 
               ________________________________

                    During the second remand, Hardy  obtained a continuance

          and  successfully challenged  two  of the  predicate state  court

          convictions.  As  he was no longer subject  to the ACCA mandatory

          minimum sentence,  he  then  pled guilty  to  all  three  federal

          charges.

                    At  the  resentencing,  the district  court  began  its

          guideline  calculation with a base offense level (BOL) of 18, see
                                                                        ___

          U.S.S.G.   2K2.1(a)(1)  (Unlawful Receipt, Possession, or  Trans-

          portation  of  Firearms or  Ammunition)  (1990),  then adopted  a

          revised presentence  report (PSR) recommendation  that Hardy  not

          receive a two-level downward adjustment for acceptance of respon-

          sibility,  see  id.    3E1.1.1   The  court set  Hardy's criminal
                     ___  ___

          history category  (CHC)  at  III (6  points),  by  counting  four





                              
          ____________________

               1Unless otherwise  indicated, we  cite to the  November 1990
          guidelines in effect on the date of the offense of conviction.

                                          4














          unvacated  prior convictions at one point each, see id.   4A1.1,2
                                                          ___ ___

          and adding two points  because Hardy was on probation at the time

          the offense of conviction was committed.  The resulting guideline

          sentencing  range (GSR)  for  Level 18,  CHC  III, was  33  to 41

          months.   

                    The district court decided  to make an upward departure

          due to Hardy's "ten-year history of grievous antisocial conduct,"

          citing eight reasons:   (1)  CHC III did  not adequately  reflect

          either the  seriousness of Hardy's  past criminal conduct  or the

          likelihood of  recidivism; (2) only one month  before the offense

          of conviction, Hardy  had been arrested and  charged with another

          "very serious offense"    his and Moreno's shooting and attempted

          murder of a  fourteen-year-old boy, Kenneth  Walker, at the  same

          Lenox  Street Housing Development; (3)  Hardy was on  bail in the

          Walker case at the  time he committed the offense  of conviction;

          (4) Hardy had been  arrested and charged with four  violent felo-

          nies  between 1985 and 1990, including kidnapping and assault and

          battery, which  were not taken into account in the CHC III calcu-

          lation since  the state  court  charges had  been dismissed;  (5)

          Hardy's two prior state court convictions for assault and battery

          against his  girlfriend and another  woman had been  vacated, not

          because  Hardy  was  not  responsible for  the  criminal  conduct

                              
          ____________________

               2The four state-court  convictions counted  by the  district
          court were:  (1) a 1985  conviction for cocaine possession; (2) a
          1988  conviction for assault and battery on a police officer; (3)
          a  1990 conviction for drug possession; and (4) a 1990 conviction
          for  possession with intent  to distribute cocaine  and heroin at
          Lenox Street.

                                          5














          underlying the  convictions but due to  procedural infirmities at

          trial;3 (6) "the [two] weapons used . . . in this federal case [a

          sawed-off  shotgun and  semi-automatic pistol]  were particularly

          dangerous weapons";  (7) officers of the  Anti-gang Violence Unit

          attested that the offense of conviction was part of a long series

          of  violent  drug-related  offenses  in  the  same  neighborhood,

          committed  by street gangs like the Columbia Point Dogs, of which

          Hardy,  Moreno, and  Fernandes were  known  members; and  (8) the

          offense  of  conviction  occurred in  an  economically  depressed

          neighborhood "where very vulnerable people live."  

                    The district  court determined that even  a full "hori-

          zontal" departure from Level 18, CHC III (33-41 months), to Level

          18, CHC VI (57-71  months), would be inadequate to  reflect these

          eight factors.  Accordingly, the court determined  upon a "verti-

          cal"  upward  departure as  well, from  Level  18, CHC  VI (57-71

          months) to Level  24, CHC VI (100-125 months).   The court gauged

          its  vertical departure  through reference  to the  121-151 month

          (Level 32, CHC I) GSR  which would have been applicable  to Hardy

          under  the  then-current   (i.e.,  November  1994)   guidelines.4
                                      ____
                              
          ____________________

               3According to the revised PSR, the  1985 assault and battery
          charges were based  on evidence  that Hardy, in  a jealous  rage,
          kicked his girlfriend in the head and upper body then punched her
          in the head before  throwing her over a third-floor balcony.   In
          the subsequent incident, he assaulted the same girlfriend and her
          sister,  beating both women about their heads and faces.  Hardy's
          girlfriend was hospitalized on both occasions.

               4The court arrived at  its adjusted BOL of 32  by increasing
          the BOL (26)  six levels based  on "various offense  characteris-
          tics."  Although the court did not cite to the  particular guide-
          line sections,  the government concedes that  the relevant guide-
          lines were U.S.S.G.    2K2.1(b)(4) (1994)  (use or possession  of

                                          6














          Ultimately, the court settled  upon the 120-month prison sentence

          from which Hardy now appeals.

                                          II
                                          II

                                      DISCUSSION
                                      DISCUSSION
                                      __________

          






































                              
          ____________________

          firearm  with an  obliterated  serial number)  and    2K2.1(b)(5)
          (1994) (use or  possession of firearm in connection  with another
          felony offense [i.e., ongoing drug distribution]).
                          ____

                                          7














          A.   Acceptance of Responsibility
          A.   Acceptance of Responsibility
               ____________________________

                    The district court denied  a two-level downward adjust-

          ment for acceptance of responsibility, see U.S.S.G.    3E1.1, for
                                                 ___

          the following reasons: 

                    There was in fact a  trial of the offense  in
                    this  case  four  or so  years  ago,  [during
                    which] the defendant denied knowing the code-
                    fendant in that case,  and . .  . that . .  .
                    does bespeak . .  . failure to accept respon-
                    sibility, and then there was an appeal .  . .
                    during which there still was no acceptance of
                    responsibility, and  . .  . I think  I should
                    consider the fact . . . that a plea of guilty
                    in this case did not occur . . . until [after
                    Hardy's  two  predicate convictions  had been
                    set aside in state court.]  I don't criticize
                    counsel for undertaking that because it makes
                    some difference to the kinds of sentence that
                    may be  ultimately imposed in  this case, but
                    it strikes me that none of this suggests that
                    there  has been  a sincere acceptance  of re-
                    sponsibility.

          Hardy asserts two challenges to the district court ruling.5

                    First, while  acknowledging that he  must establish any

          entitlement  to an  adjustment for acceptance  of responsibility,

          see United States v. Gonzalez, 12 F.3d 298, 399 (1st Cir.  1993),
          ___ _____________    ________

          Hardy argues that section  3E1.1 creates a rebuttable presumption

          that  a defendant who  has pled guilty has  carried his burden of

          proof, even though the record discloses no affirmative manifesta-

          tions of remorse.  U.S.S.G.   3E1.1, comment. (n.3) (1994). 


                              
          ____________________

               5Sentencing Guidelines interpretations are reviewed de novo,
                                                                   __ ____
          United  States  v. Bennett,  60 F.3d  902,  904 (1st  Cir. 1995),
          ______________     _______
          whereas  subsidiary  factual  findings,  including  the  ultimate
          determination whether a defendant has sincerely "accepted respon-
          sibility"  for the charged  offense, are reviewed  only for clear
          error, United States v. Crass, 50 F.3d 81, 83 (1st Cir. 1995). 
                 _____________    _____

                                          8














                    This contention  is severely undercut by  the pertinent

          guideline  commentary,  however,  which  plainly   provides  that

          "[e]ntry of a plea of  guilty prior to the commencement of  trial
                                        _____ __                      _____

          combined with  truthful admission  of involvement in  the offense
          ________ ____  ________ _________

          and  related  conduct  will  constitute  significant  evidence of
                                 ____  __________  ___________  ________

          acceptance of responsibility."   U.S.S.G.   3E1.1, comment. (n.3)

          (emphasis added).  The revised PSR  discloses that Hardy, despite

          ample  time and  opportunity, has  never truthfully  admitted the
                                             _____

          facts underlying the offense of conviction, let alone subjective-

          ly manifested "candor and authentic remorse."  See United  States
                                                         ___ ______________

          v. Wheelwright, 918 F.2d 226, 229 (1st Cir. 1990). 
             ___________

                    Moreover, even  assuming Hardy had  truthfully admitted

          the  relevant  facts, nothing  in  the commentary  upon  which he

          relies remotely indicates that a guilty plea,  even combined with

          a truthful admission, see U.S.S.G.   3E1.1, comment. (n.3), gives
                                ___

          rise  to  a  rebuttable  presumption that  a  two-level  downward

          adjustment for acceptance of responsibility will follow.  Indeed,

          Hardy's  prolonged  reticence  aside, the  commentary  explicitly

          states  that  even the  "significant  evidence  of acceptance  of

          responsibility"  generated by  "a  plea of  guilty  prior to  the

          commencement  of trial  combined with  truthful  admission," id.,
                                                                       ___

          "may  be outweighed by conduct of the defendant that is inconsis-

          tent  with such acceptance  of responsibility.   A  defendant who
                                                           _  _________ ___

          enters a guilty plea  is not entitled to an adjustment under this
          ______ _ ______ ____  __ ___ ________ __ __ __________ _____ ____

          section as a matter of right."  Id.  (1994) (emphasis added); see
          _______ __ _ ______ __ _____    ___                           ___

          U.S.S.G.   3E1.1(c) &amp; comment. (n.3) (1990).  


                                          9














                    Rather,  the sentencing  court must  engage in  a fact-

          intensive  determination based  on all  evidence material  to the

          defendant's  acceptance of  responsibility.   We  in turn  accord

          great deference to the sentencing court's determination.  See id.
                                                                    ___ ___

          comment. (n.5); United States v. Royer, 895 F.2d 28, 29 (1st Cir.
                          _____________    _____

          1990) ("Credibility and demeanor play a crucial role in determin-

          ing whether a person is genuinely  contrite," and "the sentencing

          judge has the unique opportunity of observing the defendant . . .

          and evaluating acceptance of responsibility in a live context.").

          Thus,  nothing  can come  from  Hardy's  "rebuttable presumption"

          construct, both because  it is legally unsound  and because Hardy

          lied to the  police and to a magistrate  judge regarding his lack

          of prior association with  codefendants Moreno and Fernandes, and

          gave a false home address which has never been recanted.6  


                              
          ____________________

               6As a  corollary argument, Hardy  urges a  third remand  for
          resentencing because he was  unfairly surprised by the sentencing
          court's  refusal  to follow  "accepted"  practice  in the  United
          States  District  Court  for  the District  of  Massachusetts  by
          allowing an  automatic    3E1.1  reduction to  any defendant  who
          pleads  guilty.  Even assuming such a practice, which the govern-
          ment  disputes, Hardy's  reliance  upon it  would be  objectively
          unreasonable  given the unequivocal guideline provision that "[a]
          defendant  who enters a guilty plea is not entitled to a sentenc-
          ing reduction under this section as a matter of right,"  U.S.S.G.
             3E1.1(c), not to mention  the decisional law  in this circuit,
          see United States v. Garcia, 905 F.2d 557, 561 (1st Cir.) ("Down-
          ___ _____________    ______
          ward adjustments  for acceptance of responsibility  are not auto-
          matically  conferred upon  every  accused  who pleads  guilty."),
          cert.  denied, 498  U.S. 986 (1990).   Since    3E1.1 makes clear
          _____  ______
          that the  district court  must assess each  defendant's protesta-
          tions of remorse,  it would  be inconsistent with  its spirit  to
          permit  defendants to withhold  manifestations of  remorse simply
          because  the district court has not explicitly invited them.  See
                                                                        ___
          Royer,  895 F.2d at  30 (noting that    3E1.1 is  not designed to
          _____
          encourage "empty platitudes"). 

                                          10














                    Second,  Hardy  contends that  he  reasonably refrained

          from pleading guilty until  after he had returned to  state court

          to  set aside two of his predicate convictions, since the govern-

          ment's  decision to invoke the  ACCA otherwise would have exposed

          him  to  a possible  life sentence  and  at least  a fifteen-year

          sentence,  instead  of  a  ten-year maximum.    Consequently,  he

          argues,  the  district court  improperly  relied  on the  delayed

          guilty  plea as  a basis  for finding  that he  had not  accepted

          responsibility for his crimes.   

                    It is far  from clear  that the statement  made by  the

          district court was intended to convey the message Hardy suggests.

          Viewed  in context,  the  statement may  well have  been intended

          merely  as a narrative of the prolonged procedural travel of this

          case, during which Hardy never uttered a word remotely resembling

          remorse.   In  all  events, assuming  the  statement were  to  be

          interpreted  as Hardy  suggests, we  conclude that  any resulting

          error  was harmless in that it did not affect Hardy's substantial

          rights, see  Fed. R. Crim. P. 52(a); United States v. Curran, 926
                  ___                          _____________    ______

          F.2d  59, 62  (1st Cir.  1991), since  the alternative  basis for

          denying the requested   3E1.1 reduction was entirely valid.7



                              
          ____________________

               7See United States v. Nunez-Rodriquez,  92 F.3d 14, 19  (1st
                ___ _____________    _______________
          Cir.  1996)  (noting that  a  sentencing decision  founded  on an
          inappropriate factor may be affirmed if "excision of the improper
          ground does not obscure  or defeat the reasoning of  the district
          court,"  and we  are "left, on  the record  as a  whole, with the
          definite and  firm conviction  that removal of  the inappropriate
          ground  would not be likely to alter the district court's view of
          the sentence rightfully to be imposed").

                                          11














                    After his arrest, Hardy lied when he told the police he

          had not known codefendant Moreno prior to April 18, 1991, whereas

          in fact Hardy and Moreno  had shot Kenneth Walker in March  1991.

          In addition,  the record  reveals that  Hardy, after his  arrest,

          lied  about not  having possessed  a firearm,  and gave  police a

          false  home  address.   Undeterred,  Hardy  argues  that  a false

          statement to the  police immediately after  arrest    as  distin-

          guished from a  misrepresentation to the probation office  or the

          court after  criminal proceedings  have been commenced     should

          not be treated  as a failure to  accept responsibility.   We need

          venture no opinion on this matter, since Hardy cannot come within

          the proposed rule in any event.

                    Rather, the  revised PSR  indicates  that though  Hardy

          first provided the false home  address to the police,  thereafter

          he repeated  it to the United States Pretrial Services Department

          and a magistrate  judge.  Moreover,  Hardy lied about  possessing

          and concealing  the dangerous firearm (sawed  off shotgun) rather

          than assisting in its recovery, and has never recanted.  Finally,

          he  attempted to  evade and resist  arrest rather  than surrender

          voluntarily.   By  contrast, the applicable  guideline commentary

          clearly  identifies the  kinds of  conduct considered  indicia of
                                   _____

          acceptance of  responsibility:  a "voluntary  and truthful admis-

          sion to authorities of involvement in the  offense," a "voluntary

          surrender  to authorities  promptly after  commission of  the of-

          fense," and "voluntary assistance  to authorities in the recovery

          of the  fruits  and  instrumentalities  of  the  offense."    See
                                                                        ___


                                          12














          U.S.S.G.   3E1.1, comment. (n.1(c)-(e)).  

                    We  emphasize that  it  was  especially appropriate  in

          these  circumstances  for the  district  court  to consider  "the

          timeliness of  the  defendant's  conduct in  manifesting  .  .  .

          acceptance  of responsibility,"  see  U.S.S.G.    3E1.1, comment.
                                           ___

          (n.1(g)),  particularly  since Hardy  failed  even  to request  a

          continuance to  challenge the  predicate state court  convictions

          before  his  first trial.   By  ignoring  this plain  option, and
          ______  ___  _____ _____

          failing  to explain,  Hardy put  the government  to the  needless

          expense of trying  him.  See  United States v.  De Leon Ruiz,  47
                                   ___  _____________     ____________

          F.3d  452, 455 (1st Cir. 1995) (citing U.S.S.G.   3E1.1, comment.

          (n.2)  (1994)).    Finally,  the  sentencing  court   assiduously

          searched the  record and  observed Hardy's in-court  demeanor for

          any indication that he  was truly remorseful.  Instead,  it found

          only his  unelucidated guilty plea,  with no mention  of remorse,

          and an extensive record of persisting criminal conduct "inconsis-

          tent" with genuine remorse.  We find no error. 

          B.   Upward Departure
          B.   Upward Departure
               ________________

                    A  decision  to depart  beyond  the  prescribed GSR  is

          reviewed  for "abuse  of  discretion" only,  see  Koon v.  United
                                                       ___  ____     ______

          States,      U.S.    ,    , 116 S. Ct. 2035,  2046-47 (1996), and
          ______  ____      ___  ___

          guided by three  principal inquiries:   (1) whether the  asserted

          grounds for departure were  permissible under the guidelines; (2)

          if so,  whether the  record evidence adequately  demonstrates the

          required criteria; and  (3) whether the  degree of departure  was

          reasonable.  See United States v. DeMasi, 40 F.3d 1306, 1322 (1st
                       ___ _____________    ______


                                          13














          Cir. 1994),  cert. denied, 115 S. Ct. 947 (1995).   Hardy assigns
                       _____ ______

          nine reasons for overturning the upward departure. 

               1.   Validity of the Departure Criteria
               1.   Validity of the Departure Criteria
                    __________________________________

                    The guidelines prescribe two types of  departure mecha-

          nisms.  Section 4A1.3 focuses primarily on past criminal conduct,

          and permits an upward  departure if the defendant's pre-departure

          CHC,  see  U.S.S.G.    4A1.1,  "does not  adequately  reflect the
                ___

          seriousness of [his] past criminal conduct or the likelihood that

          the defendant will commit other crimes."  Id.   4A1.3.  Normally,
                                                    ___

          these section 4A1.3 departures are "guided" and horizontal.  That

          is, within  the defendant's total  offense level the  court moves

          horizontally  across the  sentencing  table through  successively

          higher  CHCs until  it  reaches an  appropriate, or  "reflective"

          sentencing  range.    Only  in extreme  cases     those involving

          egregious past  criminal conduct    may a section 4A1.3 departure

          exceed the  GSR prescribed under  CHC VI.   See United  States v.
                                                      ___ ______________

          Mendez-Colon, 15 F.3d 188, 190 (1st Cir. 1994).8 
          ____________

                    Section  5K2.0, on  the other  hand, permits  an upward

          departure  if  the district  court finds  "an  aggravating .  . .

          circumstance of a kind, or to a degree, not adequately taken into

          consideration  by the  Sentencing Commission  in  formulating the

                              
          ____________________

               8Under  U.S.S.G.    4A1.3  (November  1990), the  sentencing
          court  was permitted to depart  beyond CHC VI  to any appropriate
          higher  sentence  under    4A1.3  ("unguided"  sentence), whereas
          under the current version departures  beyond CHC VI are "guided";
          that  is, beyond CHC  VI, sentencing courts are  to move down the
          CHC VI column to successively increasing offense levels  until an
          appropriate sentencing range is reached.  United States v. Emery,
                                                    _____________    _____
          991 F.2d 907, 913 n.9 (1st Cir. 1993).

                                          14














          guidelines."   U.S.S.G.    5K2.0 (quoting  18 U.S.C.    3553(b)).

          The  section  5K2.0  departure  mechanism  focuses  primarily  on

          "unusual" attributes  of the  offense of conviction,  rather than
                    __________  __ ___  _______ __ __________

          any   underrepresentation  of  past   criminal  conduct   in  the

          defendant's CHC.   Section  5K2.0 departures are "unguided,"  and

          functionally "vertical," meaning  that the sentencing  court need

          not restrict itself to considering successively higher CHC ranges

          along  the "horizontal"  axis in  the  sentencing table,  but may

          select  whatever sentence  appropriately  reflects the  "unusual"

          circumstances  in the  case.   See  generally  Bruce M.  Selya  &amp;
                                         ___  _________

          Matthew R.  Kipp, An Examination of  Emerging Departure Jurispru-
                            _______________________________________________

          dence  Under the Federal Sentencing Guidelines,  67 Notre Dame L.
          ______________________________________________

          Rev. 1, 39-40 (1991).

                    Hardy first argues that the district court committed an

          error  of law by relying  on the number  and dangerousness of the

          weapons used  by him and his  two associates in the  Lenox Street

          shooting spree as grounds for an upward departure.  He points out

          that the November 1990 guidelines expressly constitute the number

          of firearms a specific offense characteristic under section 2K2.2

          (Unlawful Trafficking),  but not  under  section 2K2.1  (Unlawful

          Possession), thereby  implicitly rejecting the number of firearms

          as a ground for departure under section 2K2.1.  See United States
                                                          ___ _____________

          v. Enriquez-Munoz, 906 F.2d 1356, 1361 (9th Cir. 1990).  But  see
             ______________                                        ___  ___

          U.S.S.G.    2K2.1 (1994) (amended version,  designating number of

          firearms as  specific offense characteristic).   Hardy also notes

          that section 2K2.1(a)(1) and  26 U.S.C.   5861 already  provide a


                                          15














          twelve-level   sentencing  enhancement  for  the  increased  risk

          inherent  in possessing  some  types of  firearms (e.g.,  Hardy's
                                                             ____

          sawed-off shotgun), see  U.S.S.G.   2K2.1(a), thereby  suggesting
                              ___

          that the Commission  meant to foreclose  departures based on  the

          "dangerousness" of  all other  weapon types (e.g.,  Hardy's semi-
                                                       ____

          automatic pistol).  

                    Notwithstanding the explicit consideration given to the

          number of  firearms in  U.S.S.G.   2K2.2,  a departure  criterion

          cannot  be  deemed  impermissible  in  all  circumstances  unless

          categorically foreclosed by the Commission.  See Koon, 116 S. Ct.
                                                       ___ ____

          at 2051.   The Commission "d[id] not intend to limit the kinds of

          factors, whether  or not mentioned  anywhere else  in the  guide-
                   _______  __ ___ _________  ________ ____  __ ___  ______

          lines, that could  constitute grounds for departure in an unusual
          _____

          case."  U.S.S.G. Ch.  1, Pt.  A, intro.  comment.(4)(b) (emphasis

          added).

                    Hardy pled guilty to  certain firearm possession charg-
                                                          __________

          es.   The reference to  the number  of firearms was  made by  the

          district court in the context of its discussion of the heightened

          dangerousness associated  with the manner in which  Hardy and his

          cohorts  not only possessed but  used their firearms.   See infra
                                           ____                   ___ _____

          Section II.B.2(b); cf. Enriquez-Munoz,  906 F.2d at 1361 (reject-
                             ___ ______________

          ing  departure based on number  of weapons and defendant's intent

          to cause "greater harm," where  sentencing court made no  finding

          of such  intent, and purchase/sale of multiple weapons created no

          demonstrably  greater  harm).    The  use  and/or  indiscriminate

          disposal of multiple weapons which took place in this case surely


                                          16














          elevated their dangerousness well above the level associated with

          the simple possession of a single firearm.  


















































                                          17














                    Moreover,  rather than being categorically forbidden as

          a departure ground under section 2K2.1, the heightened dangerous-

          ness occasioned by the  usage, and indiscriminate abandonment, of

          the firearms involved here is encouraged as a departure ground in

          appropriate circumstances:

                    If  a weapon or dangerous instrumentality was used
                                                                  ____
                    or possessed in the  commission of the offense the
                    __ _________
                    court may increase the  sentence above the  autho-
                    rized guideline range.  The extent of the increase
                    ordinarily  should depend on  the dangerousness of
                    the weapon, the  manner in which  it is used,  and
                    the  extent to  which it  endangered others.   The
                                                                   ___
                    discharge of a firearm might warrant a substantial
                    _________ __ _ _______
                    sentence increase.

          See U.S.S.G.   5K2.6 (emphasis added).9  
          ___

                    Finally, the  fact that the  Commission decided against

          making  "weapon  type" a  specific  offense characteristic  under

          section  2K2.1 in no sense indicates that it intended to preclude

          a  judicial  determination  that  certain types  of  weapons  are

          inherently more dangerous than others, but simply that possession

          of a  particular type of weapon, in and of itself, is not invari-

          ably  indicative of  the defendant's  intent.   For example,  the

          guidelines permit  a downward adjustment for  the illegal posses-

          sion  of a  firearm  intended for  recreational  use only.    See
                                                                        ___

          U.S.S.G.   2K2.1, comment. (n.2) ("[S]ome rifles or  shotguns may

          be possessed for  criminal purposes, while  some handguns may  be
                              
          ____________________

               9Even  though the  disjunctive  employed in    5K2.6  (i.e.,
                                                                      ____
          "used  or possessed")  might  be read  to  apply to  offenses  of
          conviction which  would not  contemplate that the  defendant have
          possessed  or used any firearm  at all, its  plain language would
          encompass a  firearm possession offense where  defendant not only
          passively possessed the firearm,  but also used (i.e., discharged
                                                           ____
          or recklessly discarded) it in an exceptionally dangerous manner.

                                          18














          suitable for  recreation. Therefore,  the guideline is  not based

          upon  the type of weapon.");  see also id.    2K2.1(b)(1) (citing
                                        ___ ____ ___

          recreational intent as mitigating sentencing factor).

                    Thus, the omission of a specific offense characteristic

          relating  to  "weapon  type"  falls far  short  of  a categorical

          prohibition.    Accordingly, to  the  extent  a sentencing  court

          supportably finds that a  defendant's choice of weapons,  and the
                                                                    ___ ___

          actual manner  of  its use,  increased  the danger  to  "unusual"
          ______ ______  __  ___ ___

          levels,  an upward  departure  under U.S.S.G.     5K2.6 would  be

          permissible.   See U.S.S.G. Ch. 1, Pt.  A, intro. comment.(4)(b);
                         ___

          see also, e.g., United  States v. LeBon, 800 F. Supp.  1012, 1017
          ___ ____  ____  ______________    _____

          (D.  Mass.  1992) (departure  warranted  for  defendant's use  of

          semiautomatic weapons).

               2.   Existence Vel Non of Departure Criteria
               2.   Existence Vel Non of Departure Criteria
                    _______________________________________

                    We  next inquire  whether the  record facts  adequately

          support  each departure  criterion  relied upon  by the  district

          court.   DeMasi, 40 F.3d  at 1322; see  supra Section  I.D. Hardy
                   ______                    ___  _____

          directly challenges the sentencing court's  reliance on:  (i) the

          determination that  CHC III  would not adequately  reflect either

          the seriousness of Hardy's criminal  history or the likelihood of

          recidivism,  see  U.S.S.G.     4A1.3; and  (ii)  three  "unusual"
                       ___

          offense-related  characteristics of  the  Lenox  Street  shooting

          incident,  see  id.     5K2.0, specifically  that  Hardy's  fire-
                     ___  ___

          arm/ammunition  possession  on April  18,  1991,  facilitated his

          ongoing  participation  in  gang-related  activities;  the  Lenox

          Street shooting  occurred in a  crowded, low-income  neighborhood


                                          19














          particularly vulnerable  to crime; and the unusual  level of risk

          created  by the  number and  types of  firearms, as  well  as the

          manner of their use in the Lenox Street shooting.  

                    Substantial  deference  is  due  a  sentencing  court's

          assessment that  the cumulative circumstances  are unusual enough

          to  implicate a  departure criterion,  thereby removing  the case

          from the "heartland":  

                    [T]he district  court must make a  refined assess-
                    ment  of the  many facts  bearing on  the outcome,
                    informed by its vantage point and day-to-day expe-
                    rience  in criminal  sentencing.  Whether  a given
                    factor is present to  a degree not adequately con-
                    sidered by the Commission,  or whether a  discour-
                    aged  factor  nonetheless justifies  departure be-
                    cause it is present in some unusual or exceptional
                    way, are matters determined  in large part by com-
                    parison with the facts  of other Guidelines cases.
                    District  courts  have an  institutional advantage
                    over  appellate  courts in  making these  sorts of
                    determinations, especially  as  they see  so  many
                    more Guidelines cases than appellate courts  do. .
                    . . "To ignore the district court's special compe-
                    tence    about the 'ordinariness' or 'unusualness'
                    of a  particular case    would  risk depriving the
                    Sentencing  Commission of  an important  source of
                    information,  namely, the  reactions of  the trial
                    judge  to the  fact-specific circumstances  of the
                    case . . . ."  

          Koon, 116 S. Ct. at 2046-47 (quoting United States v. Rivera, 994
          ____                                 _____________    ______

          F.2d 942,  951 (1st Cir.  1993) (Breyer, C.J.))  (other citations

          omitted).

                    a)   Uncounted Past Criminal Conduct (  4A1.3)
                    a)   Uncounted Past Criminal Conduct (  4A1.3)
                         _________________________________________

                    Hardy  challenges the  district court's  finding, by  a

          preponderance  of the  evidence, that  he committed  the criminal

          conduct  underlying  the  two  assault  and  battery  convictions

          vacated  by the state court following his first trial.  See supra
                                                                  ___ _____


                                          20














          note 3.  He uninformatively contends that the only reason he  did

          not claim actual innocence  of these charges when he  returned to

          state court was that his motions to vacate focused exclusively on

          the procedural infirmities  at trial.   Second, he contends  that

          the  district court's recidivism  ruling is not  supported by the

          record.   He points out that he is no longer a young adult (i.e.,
                                                                      ____

          in  his early twenties or younger), thus not within the statisti-

          cal  class of criminal  defendants most prone  to recidivism, see
                                                                        ___

          U.S.S.G.    4A1.3, backg'd; United  States v. Fahm,  13 F.3d 447,
                                      ______________    ____

          450 (1st Cir. 1994),  and further that his street  gang disbanded

          after  repeated federal prosecutions.   These arguments fundamen-

          tally  misapprehend  the departure  rationale  relied  on by  the

          district court.  

                    Section 4A1.3 specifically encourages upward departures

          based  on  "reliable  information" that  a  defendant  previously

          engaged in "prior similar adult criminal conduct not resulting in

          a conviction," U.S.S.G.    4A1.3(e),10 which plainly  encompasses

          charged  conduct  underlying  vacated  convictions.   See,  e.g.,
                                                                ___   ____

                              
          ____________________

               10Without citation to authority or  developed argumentation,
          Hardy  contends  that the  quoted language  should only  apply to
          charges no longer pending against a defendant (i.e.,  not subject
                                                         ___
          to possible retrial),  and that a defendant need object  to a PSR
          description of "prior similar  adult criminal conduct not result-
          ing in  a conviction" only  if the PSR states  that the defendant
          engaged  in the criminal activity, and not merely that the police
          so  reported.   We have  been no  more  successful than  Hardy in
          finding support  for either of these conclusory contentions.  See
                                                                        ___
          United States v.  Zannino, 895  F.2d 1, 17  (1st Cir.)  (invoking
          _____________     _______
          "the settled appellate rule that issues adverted to in a perfunc-
          tory manner, unaccompanied by some effort at developed argumenta-
          tion,  are deemed waived"),  cert. denied, 494  U.S. 1082 (1990).
                                       _____ ______
          Nor do we discern a sound basis in reason or common sense.

                                          21














          United  States v. Guthrie, 931  F.2d 564, 572-73  (9th Cir. 1991)
          ______________    _______

          (noting  that  vacated  convictions  may be  considered  under   

          4A1.3); accord, e.g., Fahm, 13 F.3d at 451  n.3 (affirming use of
                  ______  ____  ____

          uncharged and unadjudicated criminal  conduct as bases for upward

          departures).   As the trier of fact at sentencing, therefore, the

          district  court was  permitted to  credit reliable  evidence that

          Hardy committed the criminal  conduct underlying the two assault-

          and-battery convictions   vacated  during these  proceedings, see
                                                                        ___

          United States v. Figaro, 935 F.2d 4, 8 (1st Cir.  1991) (sentenc-
          _____________    ______

          ing  court  "'enjoys  wide  discretion in  determining  both  the

          relevance and reliability of sentencing  information'") (citation

          omitted).   The unchallenged statement in the revised PSR    that

          Hardy  kicked his girlfriend in the head  and upper body with his

          shod foot, punched her in  the head, and threw her over  a third-

          floor balcony, see supra  note 3, afforded a competent  basis for
                         ___ _____

          the district court's finding.   Whether or not Hardy  should have

          asserted his actual  innocence upon returning to state  court, he

          concedes  that he has never denied or objected to the description

          in the revised  PSR of  the two violent  assaults underlying  the

          vacated convictions, see  United States v. Rosales,  19 F.3d 763,
                               ___  _____________    _______

          770  (1st Cir.  1994) (court  may credit,  as true  and accurate,

          PSR's unchallenged description of past criminal conduct); Figaro,
                                                                    ______

          935 F.2d at 8.  Nor does Hardy allude on appeal to any exculpato-

          ry evidence relating to the vacated convictions. 

                    The  second claim fares no better, for it would have us

          disregard not  only  the two  vacated  convictions but  also  the


                                          22














          cumulative  evidence  upon which  the  district  court relied  in

          determining that Level 18, CHC III, underrepresented the serious-

          ness of  Hardy's past conduct  and the likelihood  of recidivism.

          Between 1987 and 1989, Hardy was arrested four times for assaults

          and/or kidnapping, involving violent attacks in which he various-

          ly used  his hands and  feet, a  rock, a stick,  a bottle,  and a

          knife against his victims.  See U.S.S.G.   4A1.3(e).  At the time
                                      ___

          of the offense of conviction, Hardy  not only was on probation in

          connection with a prior drug conviction, but also on bail pending

          charges (assault  with intent to murder  and firearms possession)

          in connection with  his and Moreno's shooting  of Kenneth Walker.

          See id.   4A1.3 (departure factors may include whether offense of
          ___ ___

          conviction  was committed "while on  bail or pretrial release for

          another  serious offense");  United States  v.  Diaz-Martinez, 71
                                       _____________      _____________

          F.3d 946, 952 (1st Cir. 1995).11  The Walker shooting occurred in

          the  Lenox Street Housing Development  a mere month  prior to the

          offense of conviction.  See Figaro, 935 F.2d at  7 ("[R]ecency of
                                  ___ ______

          a  prior offense  may  be considered  an  indicator of  increased

          likelihood  of  recidivism,  exacerbating  the  seriousness  of a

          defendant's criminal history.").   Given his  recent, persistent,

          and  escalating record of violent behavior,  see United States v.
                                                       ___ _____________

          Doe, 18 F.3d  41, 47 (1st Cir.  1994) (noting that departure  was
          ___

          warranted  where defendant's  past criminal  conduct demonstrated

          "significantly  unusual penchant  for  serious criminality"),  we

                              
          ____________________

               11As the government  aptly notes, Hardy was under  some sort
          of court supervision at the time of almost all his prior arrests.

                                          23














          find no abuse of discretion in the district court's decision that

          an upward  departure was warranted because  Hardy's pre-departure

          CHC underrepresented the seriousness of his past criminal conduct

          and the likelihood of recidivism.  See Koon, 116 S. Ct. at  2046-
                                             ___ ____

          47  (holding  that district  court  is  entitled to  "substantial

          deference"  in its  determination that  particular facts  of case

          implicate a departure factor).

                    b)   Offense-Related Characteristics (  5K2.0)
                    b)   Offense-Related Characteristics (  5K2.0)
                         _________________________________________

                    Similarly, we find  little merit in the  claim that the

          sentencing court abused its discretion in finding three "unusual"

          offense-related characteristics cumulatively  adequate to  remove

          Hardy's  case from the "heartland" of section 2K2.1 cases.  Given

          their recognized utility and ubiquity in a very broad spectrum of

          criminal  activities,  firearms  presumably may  be  possessed in

          circumstances posing  widely divergent degrees  of dangerousness.

          Accordingly, it is not apparent to us that the Sentencing Commis-

          sion attempted, let alone managed, to devise section 2K2.1 with a

          view to  the extraordinary dangers  posed by gang  members indis-

          criminately  shooting  and   discarding  particularly   dangerous

          firearms in crowded inner-city residential areas.12 
                              
          ____________________

               12Hardy argues that street  gangs are such a "fact  of life"
          in the inner city that the Commission  could not but have antici-
          pated that  a large  percentage of  criminal defendants  would be
          street gang members.   Of  course, the focus  of the  "heartland"
          inquiry is not nearly  so broad.  Instead, sentencing  courts are
          to inquire  whether one reasonably would expect an unusual number
          of defendants  convicted of  firearm/ammunition possession to  be
          gang  members.  See,  e.g., Koon, 116  S. Ct.  at 2052 (rejecting
                          ___   ____  ____
          "career  loss" as downward departure criterion  for purposes of  
          2H1.4,  since  it is  not  "unusual"  for  many public  officials
          convicted of civil rights violations to lose their jobs).

                                          24














                    Hardy and his associates  repeatedly discharged a semi-

          automatic  weapon  at  nighttime  within  a  crowded  residential

          housing development  and, while fleeing  from the scene  to evade

          arrest, Hardy planted a loaded sawed-off shotgun barrel-up in the
                                                           _________

          backyard of a residence where children lived and played.  Without

          deciding whether  it would suffice  as an independent  ground for
                                                    ___________

          departure,  we  think  the  district court,  in  these  egregious

          circumstances, did  not abuse  its discretion by  concluding that

          crowded,  low-income, inner-city  neighborhoods are  likely as  a

          rule to be  more vulnerable to the hazards posed by such reckless

          and indiscriminate criminal uses of firearms.

                    Lastly,  the record  includes  affidavits from  law en-

          forcement  officers  describing  Hardy's,  and  his  associates',

          lengthy affiliation with the Columbia Point Dogs, a Boston street

          gang  with  a  conspicuous  history of  inter-gang  violence  and

          illicit drug distribution in  the Lenox Street area.   The record

          further supports the conclusion that on April 18, 1991, Hardy and

          his associates possessed the semi-automatic weapons and sawed-off

          shotgun  for the  purpose  of facilitating  their gang's  ongoing

          terrorization of the Lenox  Street neighborhood in furtherance of

          its drug  distribution operations.   See, e.g., United  States v.
                                               ___  ____  ______________

          Sweeting,  933  F.3d  962,  966-67 (11th  Cir.  1991)  (affirming
          ________

          defendant's  ongoing connection  to  street  gang as  appropriate

          ground for departure); accord  United States v. Thomas, 906  F.2d
                                 ______  _____________    ______

          323, 328 (7th Cir. 1990).  Accordingly, we find no manifest abuse

          of  discretion by the  district court.   See Koon, 116  S. Ct. at
                                                   ___ ____


                                          25














          2046-47.  

               3.   Reasonableness of Degree of Departure
               3.   Reasonableness of Degree of Departure
                    _____________________________________

                    Finally, Hardy argues that the  section 4A1.3 departure

          was  unreasonable in  degree  as a  matter  of law,  because  the

          district court  proceeded  directly from  Level 18,  CHC III,  to

          Level 18,  CHC VI, without  either considering or  explaining why

          the sentencing range prescribed at CHC IV or CHC V was inadequate

          to  reflect the seriousness of his past conduct or the likelihood

          of recidivism.   See United States v.  Tropiano, 50 F.3d 157, 162
                           ___ _____________     ________

          (2d Cir. 1995); supra  Section II.B.1 (contrasting "unguided" and
                          _____

          "guided"  departures).   He  further  argues  that section  4A1.3

          rarely permits a sentencing court to depart beyond the sentencing

          range  prescribed by CHC VI based on an "egregious" past criminal

          record, and, as such, it  constitutes a "discouraged" ground  for

          departure. 

                    We need not reach either of  these arguments, since the

          departure decision was  not founded on section 4A1.3  alone, cf.,
                                                                       ___

          e.g.,  Fahm,  13 F.3d  at 450  &amp;  n.2 (involving  departure based
          ____   ____

          exclusively  on   4A1.3 criteria), but on both sections 4A1.3 and

          5K2.0.  See  United States v.  Aymelek, 926 F.2d  64, 69-70  (1st
                  ___  _____________     _______

          Cir. 1991) (noting  that    5K2.0 and 4A1.3 need  not be an "'ei-

          ther/or' proposition," and  that both  may be used  to support  a

          single departure decision).  The district court relied in part on

          some offense-related  attributes (e.g., number  and dangerousness
                                            ____

          of  weapons)  independently  sufficient  to  justify an  unguided

          vertical  departure under  section  5K2.0.   In determining  such


                                          26














          "mixed" departures, no useful purpose is served by insisting that

          the  sentencing court  adhere to  all section  4A1.3 formalities,

          only to countenance its "unguided" discretion to make  an "appro-

          priate"  non-horizontal  departure  under  section  5K2.0.    See
                                                                        ___

          Figaro, 935  F.2d at  8-9 (rejecting "leap-frogging"  argument in
          ______

          "mixed"    4A1.3-5K2.0 case).

                    Finally,  Hardy's   protestations  notwithstanding,  we

          cannot conclude  that the  degree of departure  was unreasonable.

          See DeMasi, 40 F.3d at 1322.   A sentencing court is not required
          ___ ______

          to "dissect its departure decision, explaining in mathematical or

          pseudo-mathematical terms each microscopic choice made."   United
                                                                     ______

          States v. Rostoff, 53 F.3d 398, 408 (1st Cir. 1995).   Similarly,
          ______    _______

          the reasonableness vel non  of the degree of departure  need "not
                             ___ ___

          [] be determined by rigid  adherence to a particular  mechanistic

          formula,  but by an evaluation of 'the overall aggregate of known

          circumstances.'" Figaro,  935 F.2d at 9  n.2 (citations omitted).
                           ______

          While the departure in this case is indeed substantial (300%), we

          have  affirmed larger ones. See Rostoff, 53 F.2d at 411 (collect-
                                      ___ _______

          ing  cases affirming  upward departures ranging  from 165  to 380

          percent).   Further, the district  court "checked" the  degree of

          its  departure  by  calculating the  hypothetical  sentence Hardy

          would have received had he been sentenced under the November 1994

          guidelines (121-151  months), on  the theory that  the Commission

          had since incorporated  many of the offense-related  characteris-

          tics that formed the  bases for the district court's  decision to




                                          27














          depart in this case.13  Given Hardy's persistent ten-year history

          of violent anti-social behavior, as  well as the dangerousness of

          his conduct on  April 18,  1991, in possessing  and abandoning  a

          particularly dangerous firearm in a residential  neighborhood, we

          cannot  say that  the  degree of  the  departure imposed  by  the

          district court was not "appropriate" in the circumstances.

                                         III
                                         III

                                      CONCLUSION
                                      CONCLUSION
                                      __________

                    For the foregoing reasons,  the district court judgment

          is affirmed.
             ________























                              
          ____________________

               13Hardy argues that the district court erred in this regard.
          The government  concedes that the court  incorrectly enhanced the
          hypothetical offense level two levels by relying on the fact that
          one of Hardy's weapons  had an obliterated serial number.   Thus,
          the correct hypothetical total offense level should have been 30,
          not 32.   The error was  harmless, however, since the  court also
          assigned Hardy  a CHC I, Level 32, rather than CHC III, Level 30.
          Both prescribe a sentencing range of 121-151 months.  

                                          28









